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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 1:21-cr-719 (JEB)
                                              :
CYNTHIA BALLENGER, and                        :
CHRISTOPHER PRICE,                            :
                                              :
                       Defendants.            :

 GOVERNMENT’S REPLY TO DEFENDANTS’ OPPOSITION TO GOVERNMENT’S
                 MOTION IN LIMINE TO PRECLUDE
    ARGUMENT AND EVIDENCE ABOUT LAW ENFORCEMENT INACTION

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully submits this reply to the defendants’ opposition to the government’s

motion in limine regarding evidence and argument of law enforcement inaction. In its motion, the

government seeks to preclude evidence and argument related to 1) the entrapment by estoppel

defense, 2) the legalization of conduct based on the inaction of law enforcement, and 3) the alleged

permission given by law enforcement to rioters other than the defendants. ECF 83-2 (hereinafter

“Gov’t Mot.”). In essence, the motion seeks to preclude the defense from raising a claim that the

defendants’ conduct on January 6, 2021 was made lawful due to the actions or inactions by law

enforcement.

       This issue was addressed in another January 6 case after the government filed a nearly

identical motion in United States v. Michael Oliveras. 21-cr-738 (BAH), ECF 28 (D.D.C. Oct. 26,

2022). In the court’s order, which allowed the motion in full, Chief Judge Howell noted that law

enforcement officers “cannot unilaterally abrogate statutory law” in the discussion of the

entrapment by estoppel defense. Id., ECF 50 at 2 (D.D.C. Jan. 17, 2023). The court next turned to

the question of “alleged inaction by law enforcement somehow caus[ing] defendant’s conduct to
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be lawful.” Id. at 3. Similar to its reasoning with the entrapment by estoppel defense, the court

noted “[s]ettled caselaw makes clear that law officer inaction—whatever the reason for the

inaction—cannot sanction unlawful conduct.” Id. (citing cases). Lastly, the court held that

permissive actions by law enforcement that the defendant did not observe were irrelevant under

Federal Rule of Evidence 401 because those unseen actions could not impact the defendant’s state

of mind. Id. at 4.

        For their part, the defendants do not appear to contradict the Oliveras decision. Indeed,

they “do not argue that a police officer can unilaterally abrogate criminal laws duly enacted by

Congress.” ECF 91 at 5 (hereinafter “Def. Opp.”). Rather, the defendants aptly state that they

“have the right to say there are no postings, cordoned-off areas or other restrictions outside the

Senate Wing Door.” Id. at 12. They continue that “law enforcement permission goes to the

‘knowingly’ clause” of 18 U.S.C. § 1752(a)(1). Id. at 18. The government agrees. The defendants

have the right to argue that they did not know the United States Capitol was restricted during the

Special Joint Session of Congress convened to certify the results of the 2020 presidential election.

This right is why the government stated in its motion that “[t]he conduct of law enforcement

officers may be relevant to defendants’ state of mind on January 6, 2021” where “they specifically

observed or was [sic] otherwise aware of some alleged permissiveness by law enforcement.” Gov’t

Mot. at 7. Contrary to the defendants’ lengthy opposition, the government is not seeking exclusion

of large set of actions or inactions by law enforcement. Many of such actions are relevant to both

the prosecution and the defense. Rather, the motion is narrowly tailored to exclude the claim that

the defendants’ conduct was lawful because of certain actions or inactions by law enforcement.

        Lastly, the government is uncertain as to what claim the defendants raise in the closing

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pages of their opposition. Therein, the defendants state “the government’s special approach for the

Prices is inconsistent with approaches in other January 6 cases.” Def. Opp. at 20. This argument

is troubling and without merit. As already discussed, the government filed a nearly identical

motion in limine in United States v. Michael Oliveras, 21-cr-738 (D.D.C.), and as it has in other

cases. Further, the defendants cite an objection raised by the government at trial in United States

v. Matthew Martin, which was “I think the defendant can speak to the interactions he had with

police officers, but talk about what police officers were doing as to other people calls for

speculation.” Def. Opp. at 21. Although based on a different rule of evidence, this objection asserts

the same conclusion as the instant motion in limine: actions of law enforcement officers with

respect to other rioters unobserved by the defendants are inadmissible. Gov’t Mot. at 7.

                                         CONCLUSION

       For the reasons stated above, the government asks that the Court allow its motion in limine

to preclude arguments and evidence about law enforcement inaction.

                                              Respectfully submitted,

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